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FOFI THE WESTERN D|STFi|CT OF TENNESSEE£U,-. _! P 51
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UNlTED STATES OF A|V|ER|CA,
P|aintitt,

VS.
CFt. NO. 05-20047-B

CHARLES FFiANKL|N GRUBB,

Defendant.

 

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AND S_E_TIM

 

This cause came on for a report date on Ju|y 25, 2005. At that time, counsel for the
defendant requested a continuance of the August 1, 2005 trial date in order to allow for
additional preparation in the case.

The Court granted the request and reset the trial date to September 6, 2005 with a
report date of Nlondav. Auqust 29, 2005. at 9:30 a.m., in Courtrcom 1. 11th Floor cf the
Federa| Building, Nlemphis, TN.

The period from August 12, 2005 through September 16, 2005 is excludable under
18 U.S.C. § 3161 (h)(B)(B)(iv) because the ends of justice served in allowing for additional
time to prepare outweigh the need for a sp dy tr' al.

lT lS SO ORDEF{ED this fw day ot 005.

 
 

 

J. D |EL BFtEEN

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Notice of Distribution

This notice confirms a copy of the document docketed as number 28 in
case 2:05-CR-20047 Was distributed by faX, mail, or direct printing on
August 2, 2005 to the parties listed.

 

 

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Honorable J. Breen
US DISTRICT COURT

